         Case 3:14-cr-00173-WWE Document 2 Filed 02/21/14 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                                                                            -.
                                 DISTRICT OF CONNECTICUT


STATE OF CONNECTICUT                                         ss: Bridgeport, CT

                                                             February 19,2014
COUNTY OF HARTFORD


        AFFIDAVIT IN SUPPORT OF COMPLAINT AND ARREST WARRANT

       Jaran Starks, being duly sworn, deposes and states as follows:

                                        INTRODUCTION

       1.      I am a Special Agent with United States Department of State, Bureau of

Diplomatic Security, and have been so employed since March of2013. I have conducted

investigations involving violations of the laws involving passport fraud. I am currently assigned

to the New York Field Office in Fort Lee, New Jersey and am currently assigned to investigate

passport and visa fraud violations. I am a law enforcement officer of the United States and am

empowered by law to conduct investigations and to make arrests for offenses enumerated in 18

U.S.C. Section 1542 and other federal offenses.

       2.      I make this affidavit in support of an application for a criminal complaint and an

arrest warrant for REINA RENTAS ESTEVEZ, a.k.a. Zaida Vargas, date of birth January 4,

1956, an adult female who is believed to be a native and citizen of the Dominican Republic.

       3.      Based on the facts set forth below, I submit that there is probable cause to believe,

and I do believe, that ESTEVEZ has submitted a false statement in the application for a United

States passport in violation of Title 18, United States Code, Section 1542. Accordingly, I make

this affidavit in support of a criminal complaint charging REINA RENTAS ESTEVEZ with a

violation of 18 U.S.c. Section 1542. I also submit this affidavit in support of the issuance of an
         Case 3:14-cr-00173-WWE Document 2 Filed 02/21/14 Page 2 of 4




arrest warrant authorizing the arrest of REINA RENTAS ESTEVEZ for this criminal violation.

                                   STATUTORY AUTHORITY

       4.      This investigation concerns violations of 8 U.S.C. Section 1542, which prohibits

knowing and willful false statements in application for a United States passport for one's own

use.

                             DETAILS OF THE INVESTIGATION

       5.      On March 9, 2006, a female identifying herself as Zaida Vargas, born on

December 3, 1957, in Guaynabo, Puerto Rico, with a current address of 1880 Lafayette Ave, Apt.

19H, in the Bronx, New York, applied for a United States Passport at the Bronx Supreme Court

in New York, New York. Vargas stated on the application that she was planning to travel to

Mexico on April 5, 2006, for a period often (10) days and paid the fee for expedited processing.

When additional identifying information was requested of Vargas that day by the passport

authorities, she could not provide it. A letter requesting the information was then sent by the

passport authorities to her home address on April 19,2006. Vargas responded, in writing, but did

not provide the requested identification documents. A second letter dated May 24,2006 was sent

thereafter by the passport authorities to Vargas, requesting the same information and was sent to

the same address. This time there was no response to the letter sent from the Passport Agency.

The passport application submitted by Vargas was ultimately deemed abandoned by the United

States Passport Agency and a United States Passport was not issued to Vargas.

       6.      On March 14, 2008, a female identifying herself as Zaida Vargas filed a second

application for a United States Passport, utilizing the same identification information as provided

in the 2006 passport application. On this occasion, the application was filed at the Norwalk,

Connecticut Passport Agency. In the application, Vargas indicated travel plans on March 18,
                                                                           \,


                                                  2
         Case 3:14-cr-00173-WWE Document 2 Filed 02/21/14 Page 3 of 4




2008 to Canada for a period of six (6) days. The United States passport was issued on this

occasion.

        7.     On May 7, 2012, an individual identifying herself as Zaida Vargas applied for a

New York state driver's license. The request generated a facial recognition match under the

name of REINA ESTEVEZ, who had a prior New York State driver's license in the system. The

information regarding ESTEVEZ/Vargas was provided to the State Department office of

Diplomatic Security, New York Field Office for review. The two United States passport

applications submitted by Vargas in 2006 and 2008 were located and Vargas' true identity of

REINA RENTAS ESTEVEZ was confirmed.

        8.     Immigration records revealed that ESTEVEZ legally entered the United States in

the late 1980's as a non-immigrant from the Dominican Republic. When her legal status in the

United States expired, ESTEVEZ attempted to legalize, but her attempts were denied and on

November 16,2005, an Immigration Judge ordered that she be removed from the United States to

the Dominican Republic. The Order has not been executed, to date.

        9.     Computer database inquiries reveal that between the dates of October 23, 2008

and May 2,2010, ESTEVEZ utilized the United States Passport issued to her in the name of

Zaida Vargas to travel to Santiago, Chile on two occasions, the Dominican Republic on one

occasion, and Toronto, Canada on one occasion, returning to the United States following each

trip.

        10.    Attempts have been made to determine whether an individual with the true

identity of Zaida Vargas exists and is still living, but the investigation continues to date.




                                                    3
         Case 3:14-cr-00173-WWE Document 2 Filed 02/21/14 Page 4 of 4




        11.    Based on the foregoing facts, and my training and experience as a Special Agent

participating in this investigation, there is probable cause to believe, and I do believe, that

REINA RENTAS ESTEVEZ a.k.a. Zaida Vargas has made a false statement in application for a

United States passport, in violation of Title 18, United States Code, Section 1542, and request

that a criminal complaint and arrest warrant issue against her for this offense.




                                       Jaran Stark
                                        pecial gent
                                       U nited States Department of State
                                       Diplomatic Security Services



Subscribed and sworn to before me this 19th day of February, 2014 at Bridgeport, Connecticut.




   lsI WilliamLGarfinkel. USMJ ""
WILLIAM 1. GARFINKEL
UNITED STATES MAGISTRATE JUDGE
DISTRICT OF CONNECTICUT
